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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

Eugene Westmoreland
                                Plaintiff,
v.                                                 Case No.: 1:21−cv−04330
                                                   Honorable Matthew F. Kennelly
Thomas Dart, et al.
                                Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Sunday, June 12, 2022:


         MINUTE entry before the Honorable Matthew F. Kennelly: Two motions to
compel by plaintiff Eugene Westmoreland are pending before the Court. (1) The first is
his motion to compel and to impose sanctions [56] based on defendant Sheriff Dart's
alleged withholding of relevant e−mails in response to a request for production. The Court
denies this motion. In November 2021, Dart objected to the request in question on various
grounds and, based on the objection, declined to produce the requested documents. The
objection likely was overly broad at least to some degree, but Westmoreland never
challenged it before the Court prior to the present motion. That motion comes far too late.
Westmoreland waited six months after the objection was made to challenge it before the
Court; he waited nearly two months after the Court stated, on April 2, 2022, that it would
not extend the fact discovery cutoff date of May 31, 2022 again; and he filed the motion
literally on the eve of the deadline, a little after 5:30 PM on May 30, 2022. The motion is
denied due to this undue delay and the absence of due diligence. (2) Westmoreland's
second motion to compel [58] concerns certain "inmate request slips" he claims to have
submitted from January through March 2022. Dart's response says that on June 7, 2022,
he produced the requested documents. It therefore appears that the motion to compel as
moot. The Court will deny the motion as moot at the June 13, 2022 telephonic hearing
unless plaintiff can show that Dart has not complied with the request for production. (3)
At the June 13 hearing, the parties should also be prepared to set an expert discovery and
dispositive motion schedule consistent with the discussion of these points in their June 3,
2022 status report. (mk)




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